Case 24-50792-hlb Doc 268 Entered 12/02/24 16:00:32 Pagel op of 3

“ NVB 3001 (Effective 1/21)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA
Wera Mater jars

Name of Debtor: Case Number:

Meta Materials 24-5 0792

1. Name and address of holder of the Equity Interest (the person or entity

a X016) 0)
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holding an Equity Interest in the Debtor. Referred to hereinafter as the UO Check box if you are aware that anyone
“Interest holder”): else has filed a proof of interest relating to
your interest. Attach copy of statement
Vi «Tor ¢ HELE vA giving particulars.
E SE
IZ NaviGatjow Porte

heck box if you have never received

Cc & RTE as VI QM E G A 30/121 , any notices from the bankruptcy courtor

the Debtors in this case.

O Check box if this address differs from
Telephone Number: the address on the envelope sent to you by

(7 g L 43 4222 the Debtors. —

mm SHO! NOT be used to make a clai

COURT USE ONLY

Check here if this claim:
1 replaces a previously filed Proof of Interest dated:

We OvLe Ss N 2 $s 7 39 O amends a previously filed Proof of Interest dated:

2. Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired:

the Equity * be it" in this Proof of Interest: $e 2d (:}0° as d2do0 to Y2.
Webel Never soll prior to als

Telephone Number:

‘Account or other number by which Interest holder identifies Debtor:

4. Total snow of 72g. 4200 +o Y2 5. Certificate number(s):
a *

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
O Check this box if your Equity Interest is based on anything else and describe that interest:
Description:

7. Supporting Documents: Attach copics of supporting documents, such as stock certificates, option agreements, warrants, ctc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8.  Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of
Interest.

9. Signature:
Check the appropriate box.

. 1 am the creditor. 0 Iam the creditor’s authorized agent. © I am the trustee, or the debtor, { I am a guarantor, surety, endorser, or othercodebtor.
~~ a (Attach copy of power of-attorney, ifany.)..  or.theirauthorized agent... __ _(See Bankruptcy Rule 3005.)
(See Bankruptcy Rule 3004.) ~ 7: -

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: Vi cT oc ¢ wh e le WG

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Title: CP vestror
Company:__ Address and telephone number (if different from notice | -2@2.. Zy
address above): (Signature) (Date) °

Telephone number: 67664: 3 F 22% mail: V che le AG 0 a }. net

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C, §§ 152 AND 3571
